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                                             Thursday, 18 October, 2018 04:41:29 PM
                                                        Clerk, U.S. District Court, ILCD




                                s/Sue E. Myerscough




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